Case 2:03-CV-02569-BBD-tmp Document 367 Filed 07/26/05 Page 1 of 4 Page|D 377

HULJBY"m QC_

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 05`“”_26 AH 9:28
WESTERN DIVISION

 

“QWBMAD&D
CLER:€ U.$_. ;i:z.§m;;r am
W/D G=*' i:"=., I',\§ESAPHZS

CHARLENE SPINKS,
Plaintiff,

Civ. Nb. 03-2568-D[P

vB.

HOME TECH SERVICES CO.. INC.,
et al.,

Defendants.

 

BoBBIE cARR,
Plaintiff,
civ. No. 03-2569-D¢p L,//”

VS.

HOME TECH SERVICES CO., INC.,
et al.l

Defendants.

VVV\J`¢V\_¢VV~_»V~.¢

 

ORDER DENYING WITHOUT PREJUDICE PLAINTIFFS' MOTIONS FOR
PROTECTIVE ORDER

 

Before the court are plaintiffs Bobbie Carr and Charlene
Spinks's Motions for Protective Order, filed June 21, 2005 (dkt
##297 and 353). On July 8, 2005, defendant NovaStar Mortgage, Inc.
filed its response, in which it stated that plaintiffs did not
comply in good faith with this court's consultation requirement.

Based on the record, the court finds that the plaintiffs have no

sum 58 and!or 79(a) FHCP on

his documententered on the docket sh ll f : ;C/

Case 2:03-CV-02569-BBD-tmp Document 367 Filed 07/26/05 Page 2 of 4 Page|D 378

adequately consulted with defendant's counsel prior to filing their
motions for protective order. §§e Haves v. Home Tech Services, No.
05-2019 Ma/V (W.D. Tenn. 2005)(July 12, 2005 order denying without
prejudice plaintiffs' motion for protective order). Therefore, the

motions are DENIED without prejudice.

ma

TUM'.P}E\.M
United States Magistrate Judge

d d LCL_;;&,, wm

IT IS SO ORDERED.

Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 367 in
case 2:03-CV-02569 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

ESSEE

 

Bruce E. Alexander

WEINER BRODSKY SIDMAN KIDER, P.C.
1300 19th Street, N.W.

5th Hoor

Washington, DC 20036--160

Webb A. Brewer

1\/[E1\/[PH[S AREA LEGAL SERVICES, INC.
109 N. Main Street

Ste. 201

1\/1emphis7 TN 38103

Christopher S. Campbell

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

Roscoe Porter Feild

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

John S. GolWen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Jennifer Shorb Hagerman
BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

W. Timothy Hayes

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Case 2:03-cV-02569-BBD-tmp Document 367 Filed 07/26/05 Page 4 of 4 Page|D 380

Loys A. Jordan
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/1emphis7 TN 38103

Mitchel H. Kider

WEINER BRODSKY SIDMAN KIDER, P.C.
1300 19th Street, N.W.

5th Hoor

Washington, DC 20036--160

Evan Nahmias
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/1emphis7 TN 38103

Virginia M. Patterson

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Sapna V. Raj

1\/[E1\/[PH[S AREA LEGAL SERVICES, INC.
109 N. Main Street

Ste. 201

1\/1emphis7 TN 38103

John L. Ryder

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

Kristen C. Wright

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

